              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
            CRIMINAL CASE NO. 2:13-cr-0009-16-MR-DLH


UNITED STATES OF AMERICA,         )
                                  )
     vs.                          )                  ORDER
                                  )
RONALD EDWARD SWOFFORD            )
_________________________________ )

     THIS MATTER is before the Court pursuant to 18 United States Code

§ 3582(c)(2) and U.S.S.G. § 1B1.10(c), Amendment 782 (Nov. 1, 2014).

     The Defendant has filed a motion for a reduction of his sentence.

[Doc. 400].   The Probation Office has submitted a supplement to the

Defendant’s Presentence Report (“PSR”) in this matter. [Doc. 419]. Based

thereon, the Court determines that the United States Attorney should

provide the Court with its respective position regarding the PSR

supplement.

     IT IS, THEREFORE, ORDERED that no later than thirty (30) days

from the entry of this Order, the United States Attorney shall file pleadings

responsive to the Probation Officer’s PSR supplement filed in this matter.

     IT IS SO ORDERED.




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